      Case 21-11213            Doc 8     Filed 09/01/21 Entered 09/01/21 08:00:51                  Desc Ch. 13
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                                       UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF MASSACHUSETTS


In Re:       Jacqueline de Oliveira Sampaio ,                          Chapter: 13
             Debtor                                                    Case No: 21−11213
                                                                       Judge Frank J. Bailey


                                                  ORDER TO UPDATE
                                             (Individual(s) Filing Chapter 13)

TO THE DEBTOR(S) AND, IF APPLICABLE, COUNSEL TO THE DEBTOR(S):

YOU ARE HEREBY ORDERED to file with the Court the document(s) checked below by the deadline(s)
indicated. Failure to file the required documents(s) with the Clerk's Office may result in the dismissal of the case. If
you are not represented by an attorney and have questions, you may wish to consult an attorney to protect your
rights.

Note that if not dismissed earlier, the case MUST be dismissed automatically under 11 U.S.C. § 521(i) if certain
documents are not filed within 45 days of the date of the filing of the petition. If you file another bankruptcy
petition within 12 months of the dismissal, the automatic stay may be limited or may not take effect depending upon
your circumstances.

  Note: Official Forms, Director Forms, and Local Forms may be downloaded from the Court's website at
                                          www.mab.uscourts.gov

               List of Creditors and Codebtors/Matrix(Master Mailing Matrix): A pdf document list the names and
         −     addresses of your creditors and codebtors, formatted as described in Local Form 1.
               Due:
               Master Mailing Matrix.txt File: In addition to the pdf version of the matrix, a .txt file listing the names
         −     and addresses of all of your creditors and codebtors must be uploaded to the ECF database. (From the
               ECF Bankruptcy Menu, Select "Creditor Maintenance" then select Upload list of creditors file.)
               Due:
         −     Verification of Matrix(Master Mailing Matrix)
               Due:
         −     Statement About Your Social Security Number(s). (FRBP Official Form B121)
               Due:
         −     Debtor(s)' Telephone Number (pro se debtor(s) only)
               Due:
               Signature missing or incorrect: Debtor(s) must sign pages 6 and 8 of the Voluntary Petition (FRBP
         −     Official Form 101), if applicable; Attorney, if any, must sign page 7
               Due:
               Filing fee: (NOTE: Personal checks of Debtor(s) are not accepted; money orders, bank checks, and
         −     attorney checks made payable to: "Clerk, U.S. Bankruptcy Court" are accepted).
                           Payment in the full amount of $313.00; or an Application for Individuals to Pay the Filing
                      − Fee in Installments, (FRBP Official Form 103A), with an initial one third minimum
                           payment of $104.00; or
               Due:
               Disclosure of Compensation of Bankruptcy Petition Preparer (AO Directors Form B2800)(pro se
         −     debtor(s) only)
               Due:
               Bankruptcy Petition Preparer's Notice, Declaration, and Signature, (FRBP Official Form B119) (pro se
         −     debtor(s) only)
               Due:

                          PLEASE SEE NEXT PAGE FOR ADDITIONAL MISSING DOCUMENTS
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    −     Initial Statement About an Eviction Judgment Against You (FRBP Official Form 101A)
          Due:
    −     Statement About Payment of an Eviction Judgment Against You (FRBP Official Form 101B)
          Due:
    −     Declaration of Electronic Filing (MLBR Official Local Form 7)
          Due:
    −     Chapter 13 Plan filed. File using correct form (MLBR Official Local Form 3)
          Due:
          Certificate of Service required. File Certificate of Service of Chapter 13 Plan (MLBR Official Local
    −     Form 3A)
          Due:
    −     Other:
          Due:



The document(s) checked below must be filed with the Court no later than 9/15/21


    Prepetition Credit Counseling:    Debtor 1           Debtor 2       Both Debtor 1 and 2

            Certificate of (Prepetition) Credit Counseling; and a copy of the Debtor Repayment Plan if
        developed prior to filing, or
            Certified Request for an Extension of Time to File a Credit Counseling Certificate. (See
        MLBR Official Local Form 9);or
            Motion Requesting Waiver of Credit Counseling Requirement Due to Incapacity, Disability,
        or Active Duty under 11 U.S.C. § 109(h). (A sample Motion is available at
            www.mab.uscourts.gov.)

    Schedule(s) are required. File the following Schedule(s):
    Summary of Your Assets and Liabilities and Certain Statistical Information (FRBP Official Form 106Sum)
    Declaration About an Individual Debtor's Schedules (FRBP Official Form 106Dec)
    Statement of Financial Affairs for Individuals Filing for Bankruptcy (FRBP Official Form B107)
    Disclosure of Compensation of Attorney for Debtor (AO Director Form B2030)
    Chapter 13 Agreement Between Debtor and Counsel, Rights and Responsibilities of Chapter 13 Debtors and
Their Attorneys (MLBR Official Local Form 8)
    Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period (FRBP
Official Form 122C1)
    Chapter 13 Calculation of Your Disposable Income (FRBP Official Form 122C2)
    Chapter 13 Plan required. File current form. MLBR Official Local Form 3
    Plan was Unsigned
    Evidence of Current and Sufficient Liability and Property Insurance on any real estate or vehicle(s) owned
by the Debtor(s). (See MLBR Appendix 1, Rule 13−2)
    List of postpetition creditor(s) and Verified Declaration attached (in converted cases only)
    Statement of No Postpetition Creditors



                    PLEASE SEE NEXT PAGE FOR ADDITIONAL INFORMATION
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For your information, Federal Rules Bankruptcy Procedure (FRBP) Official Forms, Aministrative Office
(AO) Director's Forms and Local Bankruptcy Rules of the United States Bankruptcy Court for the
District of Massachusetts (MLBR) Official Local Forms and other information about Chapter 13 are
available on the Court's website at www.mab.uscourts.gov.




     United States Bankruptcy
     Court                                  United States Bankruptcy            United States Bankruptcy
     John W. McCormack Post                 Court                               Court
     Office and Court House                 211 Donohue Federal Building        United States Courthouse
     5 Post Office Square, Suite            595 Main Street                     300 State Street, Suite 220
     1150                                   Worcester, MA 01608−2076            Springfield, MA 01105−2925
     Boston, MA 02109−3945

Date:9/1/21                                                     By the Court,

                                                                Joan M. Regan
                                                                Deputy Clerk
                                                                617−748−5342
